       Case 3:13-cr-02196-JLS                 Document 894           Filed 08/13/15           PageID.4275                     Page 1 of 6
AO 2458 (CASDRev. 08/13) Judgment in a Criminal Case

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                                                                                                                1
                                                                                                                       II,
                                                                                                                       $     '_


                                      UNITED STATES DISTRICT COURT
                                           SOUTHERN DISTRICT OF CALIFORNIA                                                   ".<        ~?
                                                                                                                             v          ....,! '-..




            UNITED STATES OF AMERICA                                 JUDGMENT IN A CRIMINAL CASE
                                 V.                                  (For Offenses Committed On drAfter November 1,1987)
                ERIK PORTOCARRERO (2)
                                                                        Case Number:         13CR2196-JLS
                                                                                                                       T'ft
                                                                     AMY E. JACKS
                                                                     Defendant's Attorney
REGISTRATION NO.                 44550298
o ­
igJ pleaded guilty to count(s)          1 of the Superseding Indictment

o was found guilty on count(s)
    after a plea of not guilty.
Accordingly, the defendant is adjudged guilty of such count(s), which involve the following offense(s):
                                                                                                                                    Count
Title & Section                       Nature of Offense                                                                            Number(s)
18 USC 1962(d)                        Racketeering Conspiracy to Conduct Enterprise Affairs                                           1




    The defendant is sentenced as provided in pages 2 through                   6           of this judgment.
The sentence is imposed pursuant to the Sentencing Reform Act of 1984.
 o The defendant has been found not guilty on count(s)
 igJ Count(s)   (remaining counts)                             are         dismissed on the motion of the United States.

 IZI   Assessment: $100.00 imposed



 o No fine                   igJ Forfeiture pursuant to order filed              8/7/2015                                    ,included herein.
       IT IS ORDERED that the defendant shall notifY the United States Attorney for this district within 30 days of any
change of name, residence, or mailing address until all fines, restitution, costs, and special assessments imposed by this
judgment are fully paid. If ordered to pay restitution, the defendant shall notifY the court and United States Attorney of
any material change in the defendant's economic circumstances.

                                                                      August 7.2015
                                                                       ate of Imposition of Sentellce



                                                                       ON. JANIS L. SAMMARTINO
                                                                          ITED STATES DISTRICT JUDGE




                                                                                                                                   13CR2196-JLS
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AO 245B (CASD Rev. 08/13) Judgment in a Criminal Case

DEFENDANT:                  ERIK PORTOCARRERO (2)                                                  Judgment - Page 2 of 6
CASE NUMBER:                13CR2196-JLS

                                                  IMPRISONMENT
 The defendant is hereby committed to the custody of the United States Bureau of Prisons to be imprisoned for a term of:

 22 months, with credit for 452 days time served, including 381 days in Norwegian custody awaiting extradition
 (June 19, 2013 - July 4, 2014) and 71 days in United States custody (April 29, 2015 - July 8,2015). Erik
 Portocarrero's time in Norwegian custody was solely the result of this offense.



         Sentence imposed pursuant to Title 8 USC Section 1326(b).
 IZI     The court makes the following recommendations to the Bureau of Prisons:

         Incarceration in USP Atwater



         The defendant is remanded to the custody of the United States Marshal.

 o       The defendant shall surrender to the United States Marshal for this district:
         o     at
                    - - - - - - - A.M.                        on
               as notified by the United States MarshaL

         The defendant shall surrender for service of sentence at the institution designated by the Bureau of
 IZI
         Prisons:
         IZI   on August 31, 2015 before 12:00 PM.
         o     as notified by the United States Marshal.
         o     as notified by the Probation or Pretrial Services Office.

                                                        RETURN
 I have executed this judgment as follows:

         Defendant delivered on                                            to
                                                                                -------------------------------
 at
       ------------------------ , with a certified copy of this judgment.
                                                                   UNITED STATES MARSHAL



                                      By                    DEPUTY UNITED STATES MARSHAL



                                                                                                        13CR2196-JLS
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    AO 245B (CASD Rev. 08113) Judgment in a Criminal Case

    DEFENDANT:                   ERIK PORTOCARRERO (2)                                                                        Judgment - Page 3 of 6
    CASE NUMBER:                 13CR2196-JLS

                                                        SUPERVISED RELEASE
Upon release from imprisonment, the defendant shall be on supervised release for a term of:

Three (3) years

     The defendant shall report to the probation office in the district to which the defendant is released within 72 hours of release from the
custody of the Bureau of Prisons unless removed from the United States.
The defendant shall not commit another federal, state or local crime.
For offenses committed on or after September J 3, J 994:
The defendant shall not illegally possess a controlled substance. The defendant shall refrain from any unlawful use of a controlled
substance. The defendant shall submit to one drug test within 15 days of release from imprisonment and at least two periodic drug tests
thereafter as determined by the court. Testing requirements will not exceed submission of more than 4 drug tests per month during the
term of supervision, unless otherwise ordered by court.
          The above drug testing condition is suspended, based on the court's determination that the defendant poses a low risk of future
o         substance abuse. (Check, if applicable.)
~         The defendant shall not possess a firearm, ammunition, destructive device, or any other dangerous weapon.
          The defendant shall cooperate in the collection of a DNA sample from the defendant, pursuant to section 3 of the DNA Analysis
~
          Backlog Elimination Act of 2000, pursuant to 18 USC section 3583(a)(7) and 3583(d).
          The defendant shall comply with the requirements of the Sex Offender Registration and Notification Act (42 U.S.c. § 16901, et
o         seq.) as directed by the probation officer, the Bureau of Prisons, or any state sex offender registration agency in which he or she
          resides, works, is a student, or was convicted of a qualifying offense. (Check if applicable.)
o         The defendant shall participate in an approved program for domestic violence. (Check if applicable.)

          If this judgment imposes a fine or a restitution obligation, it shall be a condition of supervised release that the defendant pay any
     such fine or restitution that remains unpaid at the commencement of the term of supervised release in accordance with the Schedule of
     Payments set forth in this judgment.
          The defendant shall comply with the standard conditions that have been adopted by this court. The defendant shall also comply
      with any special conditions imposed.
                                        STANDARD CONDITIONS OF SUPERVISION
     1)  the defendant shall not leave the judicial district without the permission of the court or probation officer;
     2)  the defendant shall report to the probation officer in a manner and frequency directed by the court or probation officer;
     3)  the defendant shall answer truthfully all inquiries by the probation officer and follow the instructions of the probation officer;
     4)  the defendant shall support his or her dependents and meet other family responsibilities;
     5)  the defendant shall work regularly at a lawful occupation, unless excused by the probation officer for schooling, training, or other acceptable
         reasons;
     6) the defendant shall notify the probation officer at least ten days prior to any change in residence or employment;
     7) the defendant shall refrain from excessive use of alcohol and shall not purchase, possess, use, distribute, or administer any controlled substance or
         any paraphernalia related to any controlled substances, except as prescribed by a physician;
     8) the defendant shall not frequent places where controlled substances are illegally sold, used, distributed, or administered;
     9) the defendant shall not associate with any persons engaged in criminal activity and shall not associate with any person convicted of a felony,
         unless granted permission to do so by the probation officer;
     10) the defendant shall permit a probation officer to visit him or her at any time at home or elsewhere and shall permit confiscation of any contraband
         observed in plain view of the probation officer;
     II) the defendant shall notify the probation officer within seventy-two hours of being arrested or questioned by a law enforcement officer;
     12) the defendant shall not enter into any agreement to act as an informer or a special agent of a law enforcement agency without the permission of
         the court; and
     13) as directed by the probation officer, the defendant shall notify third parties of risks that may be occasioned by the defendant's criminal record or
         personal history or characteristics and shall permit the probation officer to make such notifications and to confirm the defendant's compliance
         with such notification requirement.



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AO 245B (CASD Rev. 08113) Judgment in a Criminal Case

DEFENDANT:             ERIK PORTO CARRERO (2)                                                  Judgment Page 4 of 6
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                                SPECIAL CONDITIONS OF SUPERVISION

Submit person, property, residence, office or vehicle to a search, conducted by a United States Probation Officer
at a reasonable time and in a reasonable manner, based upon reasonable suspicion of contraband or evidence of a
violation of a condition of release; failure to submit to a search may be grounds for revocation; the defendant shall
warn any other residents that the premises may be subject to searches pursuant to this condition.

If supervised in the Central District of California, submit your person, property, house, residence, vehicle, papers,
computer, electronic communications or data storages devices or media, and effects to search at any time, with or
without a warrant, by any law enforcement or probation officer with reasonable suspicion concerning a violation
of a conditions of probation/supervised release or unlawful conduct, and otherwise in the lawful discharge of the
officer's duties. 18 U.S.C. §§3563(b)(23); 3583(d)(3).

Be prohibited from opening checking accounts or incurring new credit charges or opening additional lines of
credit without approval of the probation officer.

Provide complete disclosure of personal and business financial records to the probation officer as requested.

Notify the Collections Unit, U.S. Attorney's Office, of any interest in property obtained, directly or indirectly,
including any interest obtained under any other name, entity, including a trust, partnership, or corporation, until
fine is paid in full.

Notify the Collections Unit, U.S. Attorney's Office, before transferring any interest in any property owned
directly or indirectly by the defendant, including any interest held or owned under any other name or entity,
including trusts, partnerships, or corporations, until fine is paid in full.

Not engage in any employment or profession involving gambling.




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AO 245B (CASD Rev. 08/13) Judgment in a Criminal Case

DEFENDANT:               ERIK PORTOCARRERO (2)                                                Judgment - Page 5 of 6
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                                                  FINE

The defendant shall pay a fine in the amount of     $50,000.00               unto the United States of America.



This sum shall be paid    ~    as follows:


Pay a fine in the amount of $50,000.00 through the Clerk, U.S. District Court. Payment of fine shall be
forthwith. During any period of incarceration the defendant shall pay fine through the Inmate Financial
Responsibility Program at the rate of 50% of the defendant's income, or $25.00 per quarter, whichever is
greater. The defendant shall pay the fine during his supervised release at the rate of $1,500.00 per month. These
payment schedules do not foreclose the United States from exercising all legal actions, remedies, and process
available to it to collect the fine judgment at any time.

Until fine has been paid, the defendant shall notify the Clerk of the Court and the United States Attorney's
Office of any change in the defendant's mailing or residence address, no later than thirty (30) days after the
change occurs.

The Court has determined that the defendant does have the ability to pay interest.




                                                                                                    13CR2196-JLS
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               fljKOKRIM
               THE NORWEGIAN NATIONAL AUTHORITY FOR INVESTlf3ATlON
               AND PROSECUTION OF ECONOMIC AND ENVIRONMENTAL CRIME




      To whom it may concern




                                          Our reference:                           Date:
                                          12522724                                29.04.2015




      REGARDING THE EXTRADITION OF ERIK PORTOCARRERO FROM
      NORWAY TO THE USA

      I, the undersigned, have been the prosecutor for Erik Portocarreros extradition case
      in Norway.
      Mr Portocarrero was apprehended by Norwegian police on June 19th 2013. He
      remained in custody until July 4th 2014. Upon his release from custody he was under
      duty to report weekly In person to the police, which he has complied with. There has
      not been set any bail as condition for his release.

      When his plea agreement was final, he immediately withdrew his appeal over the
      extradition decision and has waived any further rights to contest the extradition.

      He has today surrendered himself to the police prior to departure In line with our
      instructions and is cooperating fully to the carrying out of the extradition.




      Postal address        Street address              Telephone/Telefax   Org. no.: B74 761 532
      Postboks 8193 Dep     C.J. Hambros plass 2 B      (+47) 23 29 10 00   post.okokrjm@politlet.no
      N-0034 OSLO           N-0164 OSLO                 (+47) 23 29 10 01   www.okokrim.no
